      Case 1:03-md-01570-GBD-SN
      Case 1:17-cv-02003-GBD-SN Document
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      11/26/2019


In re:
                                                                      03-MDL-01570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                      ORDER



-----------------------------------------------------------------X

Ashton et al v. al Qaeda Islamic Army, et al., 02-CV-6977 (GBD) (SN) (S.D.N.Y.)
Bauer et al. v. al Qaeda Islamic Army, et al., 02-CV-7236 (GBD) (SN) (S.D.N.Y.)
Ashton et al. v. Kingdom of Saudi Arabia, 17-CV-2003 (GBD) (SN) (S.D.N.Y.)

SARAH NETBURN, United States Magistrate Judge:

         On September 20, 2019, Patricia Ryan, Kristen Ryan, Laura Ryan, and Colin Ryan (the

“Ryan Plaintiffs”), as well as Katherine Maher, Daniel R. Maher, and Joseph F. Maher (the

“Maher Plaintiffs”) (collectively, “Plaintiffs”), parties in the Ashton action, filed motions to

substitute counsel. ECF Nos. 5164, 5165. On the same day, Baumeister & Samuels, current

counsel for Plaintiffs, partially opposed the motions. ECF Nos. 5169, 5171. The firm consents to

the substitution of counsel, but contends that: (1) Plaintiffs should be removed from the Ashton

action; and (2) the Court should enter a charging lien for the firm’s fees and unreimbursed

expenses in the event there is any future recovery. Id.

         For the reasons stated during the November 26, 2019 conference, it is hereby

ORDERED:

         1.      Plaintiffs’ motions to substitute are GRANTED, without prejudice to Baumeister

& Samuels’ request for a charging lien.

         2.      By Tuesday, December 10, 2019, Baumeister & Samuels is directed to produce

the “economic files” described by counsel during the November 26 conference.
     Case 1:03-md-01570-GBD-SN
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       3.      By Tuesday, December 10, 2019, Plaintiffs are directed to voluntarily withdraw

their claims from the Ashton and Bauer actions and file a new member case associated with the

Havlish action, or otherwise file a status letter indicating how Plaintiffs will be removed from

their current complaints.

       4.      By Tuesday, December 10, 2019, the parties are directed to file a joint letter

updating the Court on the status of the charging lien dispute.

       The Clerk of the Court is respectfully directed to terminate the motions at ECF Nos. 5164

& 5165.

SO ORDERED.



DATED:         November 26, 2019
               New York, New York




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